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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 TERESA M. GAFFNEY and SARAH
 K. SUSSMAN,

       Plaintiffs,

 v.                                                  Case No: 8:21-cv-21-CEH-CPT

 RONALD FICARROTTA, PAUL
 HUEY, REX BARBAS, CAROLINE
 TESCHE ARKIN, HILLSBOROUGH
 COUNTY, RONALD FICARROTTA,
 PAUL HUEY, REX BARBAS,
 CAROLINE TESCHE ARKIN,
 PHILLIP A BAUMANN, MICHAEL
 R KANGAS, CHAD CHRONISTER,
 JONATHON CARLTON, GARY
 HARRIS, JASON G GORDILLO,
 PHILLIP A. BAUMANN, P.A. and
 HILLSBOROUGH COUNTY
 SHERIFF’S OFFICE,

       Defendants.
                                       /

                                     ORDER

       This cause comes before the Court upon the Report and Recommendation filed

 by Magistrate Judge Christopher P. Tuite on July 12, 2022 (Doc. 104). In the Report

 and Recommendation, Magistrate Judge Tuite recommends that the Court (1) grant

 the Lawyer Defendants’ Motion to Quash Service and Dismiss Complaint for Failure

 to Timely Serve [Them] and (2) dismiss the pending claims against the Lawyer

 Defendants without prejudice. All parties were furnished copies of the Report and
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 Recommendation and were afforded the opportunity to file objections pursuant to 28

 U.S.C. § 636(b)(1). No such objections were filed.

       Upon consideration of the Report and Recommendation, and upon this Court's

 independent examination of the file, it is determined that the Report and

 Recommendation should be adopted. Accordingly, it is now

       ORDERED AND ADJUDGED:

       (1)    The Report and Recommendation of the Magistrate Judge (Doc. 104) is

              adopted, confirmed, and approved in all respects and is made a part of

              this Order for all purposes, including appellate review.

       (2)    The Motion to Quash Service and Dismiss Complaint for Failure to

              Timely Serve Defendants Michael R. Kangas, Phillip A. Baumann, and

              Baumann Kangas, P.A. (Doc. 84) is GRANTED.

       (3)    Plaintiffs’ claims against Defendants Michael R. Kangas, Phillip A.

              Baumann, and Baumann Kangas, P.A. are dismissed without prejudice.

       (4)    The Clerk is directed to terminate Defendants Michael R. Kangas, Phillip

              A. Baumann, and Baumann Kangas, P.A. as parties to this case.

       DONE AND ORDERED at Tampa, Florida on August 1, 2022.




 Copies to:
 The Honorable Christopher P. Tuite
 Counsel of Record




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